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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
               Plaintiff,                      )
                                               )
v.                                             )       No. 4:09CR463 HEA
                                               )
KATRON SANDFORD,                               )
                                               )
               Defendant.                      )

                                              ORDER

        This matter comes before the Court upon defendant’s Motion to Continue Plea Setting

[Doc. #303] and Waiver of Speedy Trial [Doc. #282].

        This Court, upon careful consideration of the motion of defendant, and on review of the

record, finds that the ends of justice would best be served by continuing the trial setting in this

matter to a change of plea setting as to defendant Katron Sandford to January 26, 2010, at 11:30

a.m. and that a continuance of these proceedings outweighs the best interest of the public and the

defendant in a speedy trial. Furthermore, failure to grant a continuance would deny counsel for

the defendant and the Government the reasonable time necessary for effective preparation, taking

into account the exercise of due diligence.

        Defendant has filed with this Court a signed Waiver of Speedy Trial under the Speedy

Trial Act, 18 U.S.C. §3161, [Doc. #282].

        Concluding that the administration of justice will best be served by continuing this case,

the Court will reset the change of plea setting in this matter on January 6, 2010, to January 26,

2010.

        Accordingly,
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       IT IS HEREBY ORDERED that the change of plea setting as to Defendant Katron

Sandford is reset to January 26, 2010, at 11:30 a.m.

       Dated this 8th day of January, 2010.



                                              ________________________________________
                                                    HENRY EDWARD AUTREY
                                                  UNITED STATES DISTRICT JUDGE




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